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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                        CIVIL ACTION NO. 3:21-CV-00367-RGJ-CHL


 SISTERS FOR LIFE, INC., et al.,                                                         Plaintiffs,

 v.

 LOUISVILLE-JEFFERSON COUNTY
 METRO GOVERNMENT, et al.,                                                            Defendants.

                                               ORDER

        The undersigned held a telephonic status conference in this matter on January 31, 2023.

 Participating were the following:

        FOR PLAINTIFFS:                 Christopher D. Wiest; Geoffrey R. Surtees

        FOR DEFENDANTS:                 John F. Carroll; Natalie Johnson

        The Court and the Parties discussed their scheduling proposals, and the Parties’ respective

 positions on the dispositive motion deadline to be set in this case. (DNs 69, 70.) Plaintiffs

 indicated that their position was based on the fact that the issues in the case had already been

 extensively briefed before the Sixth Circuit. Defendants indicated that their position was based on

 the fact that their deadline to file a petition for writ of certiorari did not expire until sometime in

 March and the fact that there is litigation pending before the Kentucky Supreme Court that would

 effectively moot a ruling in this case. The Court indicated that while it understood the Defendants’

 position, it was inclined to set a sooner deadline than that proposed by Defendants to keep this

 case moving given that the timing of the Kentucky Supreme Court’s ruling is not within this

 Court’s control. Accordingly, the Court will set a March 16, 2023, dispositive motion deadline as

 set forth below.
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          Plaintiffs requested, and Defendants did not oppose, a five-page enlargement of the page

 limit for dispositive motions int his matter. Given the Parties’ agreement and the relatively small

 adjustment requested, the Court will grant the same.


          Accordingly,

          IT IS HEREBY ORDERED as follows:

          (1)    The page limit prescribed by LR 7.1(d) for motions and responses is enlarged to

 thirty pages for the Parties’ dispositive motion briefing. The page limit for replies remains fifteen

 pages.

          (2)    The Parties shall file a joint status report no later than fourteen days after any ruling

 by the Kentucky Supreme Court that they believe affects this matter and shall address therein their

 respective proposals for proceeding. The Court expects one joint filing regardless of the any

 disagreement about how to proceed.

          (3)    Dispositive and Expert Motions. No later than March 16, 2023, counsel for the

 Parties shall file all dispositive motions and any motions objecting to the admissibility of expert

 witness testimony under Federal Rule of Evidence 702, Daubert v. Merrell Dow Pharmaceuticals,

 Inc., 509 U.S. 579 (1993), and Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999). The party

 filing the last pleading in response to such motions shall notify the Court by email to the Court’s

 Deputy, Ms. Andrea Morgan by email at andrea_morgan@kywd.uscourts.gov, with copies to

 opposing counsel, that the motions are ripe for decision. Applications for extensions of time will

 be granted only upon good cause shown.

          (4)    Pretrial Conference. This matter is assigned for a Pretrial Conference before the

 trial judge on September 26, 2023, at 1:30 p.m. ET at the Gene Snyder U.S. Courthouse,

 Louisville, Kentucky.



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             a) No later than twenty-one (21) days before the Pretrial Conference, counsel

                shall file:

                     i. a list of witnesses in accordance with the Fed. R. Civ. P. 26(a)(3). The

                        witness lists shall specify those witnesses who will testify at the trial of

                        this action versus those who may testify, in accord with Fed. R. Civ. P.

                        26(a)(3)(A) and shall identify all witnesses who will testify by

                        deposition, specifying the portions of such deposition testimony that

                        will be used at trial, in accord with Fed. R. Civ. P. 26(a)(3)(B). The

                        witness lists shall also set forth the subject matter of each witness’s

                        testimony and the purpose for which such testimony is offered;

                    ii. an exhibit list in accordance with the Fed. R. Civ. P. 26(a)(3). The

                        exhibit list shall include any demonstrative and/or summary exhibits to

                        be used at trial (including any to be used during opening statements) and

                        shall contain a description of each exhibit in sufficient detail to permit

                        adequate identification thereof;

                   iii. any appropriate motions in limine;

                   iv. the transcript of all evidentiary depositions to be used at trial along with

                        any motions for ruling by the court upon any objection made in any

                        evidentiary deposition to be used at trial on which ruling by the court is

                        necessary prior to trial. Any objection within any deposition which is

                        not so raised specifically (by citation to page number and question

                        number) for ruling by the court shall be deemed to be summarily

                        overruled; and




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                    v. a pretrial memorandum brief containing a succinct statement of the facts

                        of the case, the issues of fact to be resolved at trial, the disputed issues

                        of law that must be resolved in connection with the trial, and a brief

                        summary of the party’s position on each disputed issue of fact or law.

             b) No later than fourteen (14) days before the Pretrial Conference, the parties

                shall file:

                     i. written objections, pursuant to Fed. R. Civ. P. 26(a)(3), to the lists of

                        witnesses and exhibits previously filed by any other party. Objections

                        not so disclosed, other than objections under Rules 402 and 403 of the

                        Federal Rules of Evidence, shall be deemed waived unless excused by

                        the court for good cause shown;

                    ii. responses to any other party’s motion in limine; and

                   iii. responses to any other party’s motion for a ruling on any objection made

                        in an evidentiary deposition.

             c) At the Pretrial Conference, counsel for the parties shall be prepared to:

                     i. discuss and make possible stipulations of admissibility, or threshold

                        foundation requirements for admissibility of exhibits, including

                        authenticity; discuss and make stipulations of fact or law which would

                        expedite the trial of this action;

                    ii. disclose any demonstrative or summary exhibits intended for use at trial;

                   iii. display to the court all exhibits intended to be used at trial, which shall

                        already be pre-marked in accordance with Local Rule. Counsel shall

                        provide the court with a copy of all documentary exhibits. Failure to




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                                    disclose exhibits to the Court and to opposing counsel at the Pretrial

                                    Conference shall be subject to sanctions unless good cause is shown;

                             iv. discuss the possibility of settlement; and

                              v. advise the Court of anticipated technological issues that may arise at

                                    trial.

                     d) The Pretrial Conference shall be attended by all attorneys who will be trying

                          the case along with the parties and/or representatives.

           (5)       Trial. This action is hereby set for a bench Trial on October 10, 2023, at 9:30 a.m.

 ET at the Gene Snyder United States Courthouse, Louisville, Kentucky. Counsel should be

 present in the courtroom by 9:00 a.m. The anticipated length of trial is three days.

           (6)       Deadline Extensions. No extensions of the deadlines set in this order, or any

 deadline set by the Federal Rules of Civil Procedure, shall be granted unless an appropriate

 motion is filed prior to expiration of the deadline in question, and upon a showing of good

 cause beyond the control of counsel in the exercise of due diligence. In the event all parties

 agree to extend a deadline set in this order, or a deadline contained in the Federal Rules of

 Civil Procedure, the parties must file a joint motion attaching the agreed order. This

 provision shall prevail over Joint Civil Local Rule 7.1 regarding motions to the extent

 inconsistent therewith.

           (7)       All remaining provisions of the Court’s prior scheduling orders remain in full

 effect.




 cc: Counsel of record

   0|20          January 31, 2023




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